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wEsTERN DJ:v:l:s:l:oN I*` 315
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uNITED sTA'I‘Es oF AMERICA, ) '“
)
Plaintiff, )
)
vs. ) CR. NO. 05-20177-Ma
)
ELISHA MooDY, )
)
Defendant. )

 

ORDER ON CONTINUBNCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on forl a report date on. July 27, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 27, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

114

IT IS SO ORDERED this day of August, 2005.

j/d/»L__

SAMUEL H. MAYS, JR.
U'NITED STA'I‘ES DISTRICT JUDGE

 

Th‘ls docL\mem entered on the dockets tin compliance
with Fmie 55 and!o: 32(b\ FHCrP on § 'z.§ ‘Q;_

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 125 in
case 2:05-CR-20177 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

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